
Follett, J.
This action was brought December 12, 1890, by a passenger against a common carrier, to recover damages claimed to have been sustained by the alleged negligence of the defendant. September 23, 1890, the plaintiff took a second-cabin passage from Liverpool on defendant’s boat Gallia for New York, at which port the ship arrived October 4th. It is alleged that a defective port, which was a few inches above the plaintiff’s berth, admitted such quantities of water he was constantly wet, and thereby contracted pneumonia, which resulted in the permanent impairment of his health. The question lying at the threshold of this case is, has the court jurisdiction of the action? “An action against a foreign corporation may be maintained by a resident of the state, of by a domestic corporation, for any cause of action. * * *” Code Civ. Proc. § 1780. It is alleged in the complaint that the defendant is a foreign corporation, “and that the plaintiff is a resident of the state of New York.” The defendant, in its answer, admits that it is a foreign corporation, is the owner of a steamship line, and is a common carrier , of' passengers, as alleged in the complaint, and “then denies that it has any knowledge or information sufficient to form a belief as to any of the other allegations contained in the complaint.” Allegations of time in a complaint are presumed to refer to the conditions existing when the action was begun, unless controlled by other allegations showing that a different date is intended. Townshend v. Norris, 7 Hun, 239; Broome v. Taylor, 9 id. 155; Burns v. O'Neil, 10 id. 494. Under the pleadings, the residence of the plaintiff when the action was begun was a fact in issue. The defendant on the trial raised no question in respect to the jurisdiction of the court, or the residence of the plaintiff. A general verdict (Code Civ. Proc. § 1186) was rendered, and it is presumed that all material issues of fact raised by the pleadings were determined in favor of the prevailing party. Wolf v. Insurance Co., 43 Barb. 400; affirmed, 41 N. Y. 620 ; Van Pelt v. Otter, 2 Sweeny, 202 ; Murphy v. Lippe, 35 N. Y. Supr. Ct. 542; Soria v. Davidson, 53 id. 52: Id., 9 Civ. Proc. R. 23. The jurisdiction of a court of general jurisdiction is always presumed, and can never be questioned, unless the want of 'jurisdiction is shown at the trial or appears on the record. Mills v. Martin, 19 Johns. 7 ; Bloom v. Burdick, 1 Hill, 130 ; Downes v. Bank, 6 id. 298; Hutchinson v. Brand, 6 How. Prac. 73. If no evidence had been given in respect to the residence of the plaintiff, the jurisdiction of the court could not have been questioned on appeal, unless the nonresidence of the plaintiff is disclosed by the record. The plaintiff testified on the trial, which occurred March 7, 1895, “I reside at 156 Eas^ 127th street, in the city of New York.” He was not asked by either side where he resided at any time previous to the trial, and there was no fact inconsistent with the idea that he was a resident of this-state on the 12th *860of December, 1890, when the action was begun. The vessel on which the plaintiff was a passenger arrived in New York October 4, 1890, and from that date until November 6, 1890, he was a patient in St. Vincent’s Hospital, in this city. The plaintiff was a cabinetmaker. Later in the year he worked for the Pullman Palace-Car Company, in Chicago, 111., which employment he left in the summer of 1891, and came East. ’ In the winter of 189 L and 1892 he worked for that company at St. Charles, Mo. After-wards he worked for the same company at Buffalo, until the spring of 1893, when he began work for the same company in their shop at Chicago, and continued there until June, 1893. Afterwards he worked for the Illinois Central Railroad at Chicago, and at the time of the trial he was at work for the Manhattan Elevated Railroad Company. The defendant asked no questions of the plaintiff in respect to his residence, and gave no evidence on that issue. Again, upon the defendant’s offer, the complaint was received in evidence. The testimony does' not conclusively show that the plaintiff was not a resdent of this state when the action was begun, and the presumption of jurisdiction is not rebutted. If it can be said that the evidence is capable of different inferences as to the place of residence of the plaintiff, the answer is that the jury has drawn the inference and determined the question in his favor. In case the jurisdiction of a court of general jurisdiction turns upon a question of fact, the issue must be determined by the jury. U. S. v. Sanders, Hempst. 483; Fed. Cas. No. 16,220; Thomp. Trials, § 2186; Roderigas v. Savings Inst., 63 N. Y. 460, 464. Section 427 of the Code of Procedure provided that an action could be brought by a resident of this state against a foreign corporation for any cause of action; that an action could be brought against such a corporation by a nonresident in case the cause of action arose in this state, or the subject of the action be situated within this state. Root v. Railway Co., 65 Barb. 619; 1 Thomp. &amp;. 0.10 affirmed, 55 N. Y. 636, was brought by a resident of the state of Michigan against a Canadian corporation for the loss of the plaintiff’s goods in Canada or in the state of Michigan. It was held that the cause of action did not arise in this state, that the plaintiff was a nonresident, and that the. action could not have been maintained had the defendant pleaded the plaintiff’s nonresidence, but-that the objection was waived by failure to raise it on the trial, and that it could not be raised for the first time on appeal. In Downes v. Bank, 6 Hill, 297, it was held that the nonresidence of a plaintiff in an acttion against a foreign corporation was a plea in abatement, and must be pleaded. The same rule was held in Pease v. Railroad Co., 10 Daly, 459, and in Steers v. Steamship Co., 57 N. Y. 1, 7. The issue in respect to the plaintiff’s residence having been found in his favor by the general verdict, and the question not having been raised at the trial, it must be held that the court had jurisdiction of this action.
The position of the learned counsel for the defendant—that the-court erred in submitting the questions as to the defendant’s negligence and the plaintiff’s freedom from contributory negligence to the jury—cannot- be sustained. The plaintiff testified that the *861port leaked so badly that his berth and the one underneath were saturated with water. Measures, who occupied a stateroom near the plaintiff’s, testified that on the morning of the 25th he was in the plaintiff’s room; saw that his berth and the one underneath it - were wet; that the next day he was in the plaintiff’s room, and that the water had come through the port as before; that he saw water -coming through it: and that on the third and fourth days he saw water coming through it. The plaintiff complained of the condition of the port to the employes of the ship, as they admit, though they testified that it was in perfect order and did not leak. This evidence presented a question of fact, which was rightly submitted to the jury, and it cannot be said that the verdict was contrary to the weight of evidence. The defendant did not deny that, in case the port leaked in the manner described, it was defective, and might have been easily remedied. The defendant’s marine superintendent testified that when the ports are perfect, as they should be, they do not admit water, and that they should be kept in condition so as not to leak. The learned counsel for the defendant asserts that the plaintiff was guilty of contributory negligence, by noncompliance with the following rule, which was posted in his •stateroom: (6) Passengers having any cause for complaint are requested to communicate at once with the chief steward.” The plaintiff did complain of the condition of the port to the first and second intermediate stewards and to the bedroom steward, and the chief steward testified that he went into the plaintiff’s room on Wednesday, October 1st, and the plaintiff told him that his bed was damp, and pointed to the port. The ship’s physician testified that the plaintiff complained to him that water had come through the port and wet his bed. There is certainly no foundation for the claim that the plaintiff was guilty of contributory negligence in not bringing to the attention of the defendant’s servants the •condition of the port.
The court did not err in refusing to permit the defendant to prove by Dr. Haubold the condition of the plaintiff when he -entered St. Vincent’s Hospital, and the statements made by him in respect to the previous condition of his health. The knowledge of this witness was acquired from an inspection of and conversations with the plaintiff while the relation of physician and patient existed between them, and was privileged. Code Civ. Proc. -834. This privilege was not waived by the plaintiff’s having called other physicians to testify to his condition anterior and subsequent to the time he was in the hospital. Hope v. Troy &amp; L. Railroad Co., 40 Hun, 430; affirmed, 110 N. Y. 643; 16 St. Rep. 998; Record v. Village of Saratoga Springs, 46 Hun, 448; 12 St. Rep. 395; affirmed, 120 N. Y. 646.
The charge was eminently fair and elaborate, covering every issue of fact in the case, and by it the jury was correctly instructed in the rules of law applicable to those issues. The learned counsel for the defendant, not being satisfied with this presentation of the case to the jury, preferred thirty-eight requests to charge, eighteen of which were charged without qualification, though many of them were immaterial, and others were covered by the *862instructions previously given. Twenty requests were refused,— some partially, and others wholly. Thereupon the defendant’s counsel took this exception: “I except to your honor’s refusal to charge those requests which you declined.” Many of the requests were untenable,.others were irrelevant, and others had been covered by the charge as delivered. A general exception of this kind raises no question, unless every one of the requests should have been granted in the terms in which they were preferred. Hoyt v. Railroad Co., 37 N. Y. 678; Smedis v. Railroad Co., 88 id. 13; Read v. Nichols, 118 id. 224; 28 St. Rep. 867; Huerzler v. Cent. C. T. Railroad Co., 139 N. Y. 490; 54 St. Rep. 836; Beaver v. Taylor, 93 U. S. 46.
An examination of the entire record fails to disclose any error-calling for a reversal of the judgment, which, and the order denying a motion for a new trial, shbuld be affirmed, with costs.
Parker, J., concurs.
